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                      EXHIBIT D 
                                     
                      
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1
2       UNITED STATES DISTRICT COURT
3       SOUTHERN DISTRICT OF NEW YORK
         - - - - - - - - - - - - - - - - - - - -x
4       CIERA WASHINGTON,
                            Plaintiff,
5                -against-
        WALGREENS; WALGREENS CO.; DUANE READE;
6       DUANE READE INC.; DUANE READE
        INTERNATIONAL, LLC; and Individually and
7       Jointly; LUIS GUERRERO; GERMAINE ALLEN;
        VIVIAN GHOBRIAL; and CRYSTAL BECKRUM,
8                           Defendants.
        Civil Case No. 17-CV-02393
 9       - - - - - - - - - - - - - - - - - - - -x
10                          1250 Broadway
                            New York, New York
11
                                        April 3, 2018
12                                      1:07 p.m.
13
14         CONTINUED DEPOSITION of MICHAEL GEYER,
15      a witness appearing on behalf of the
16      Defendants in the above-entitled action,
17      held at the above time and place, taken
18      before Brian Brenner, a Shorthand Reporter
19      and Notary Public of the State of New
20      York, pursuant to the Federal Rules of
21      Civil Procedure, Court Order and
22      stipulations between Counsel.
23                  *     *     *
24
25

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1                              M. GEYER
2              A        Not really anything.
3              Q        How about the Complaint in this
4       action?       Did you review that?
5              A        I did.      I should add that I
6       looked at the interrogatory responses as
7       well.
8              Q        Defendants' interrogatory
9       responses?
10             A        Yes.
11             Q        Why did you do that?
12             A        Just to familiarize myself with
13      again what I might be asked about with
14      regards to today's testimony.
15             Q        Any other documents or
16      information you might have reviewed or
17      that you reviewed?
18             A        Not that I recall.
19             Q        With respect to Defendants'
20      interrogatory responses, when did you
21      review those documents?
22             A        Yesterday.
23             Q        What about any other time before
24      then?
25             A        Yeah.      Probably a week or so

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1                             M. GEYER
2       ago.
3              Q        Any other time?
4              A        I don't recall.               I don't believe
5       so.
6              Q        So you had never seen
7       Defendants' interrogatory responses before
8       a week ago?
9              A        Not that I recall.
10             Q        How about the information
11      contained in --
12                      MS. MORRISON:               Strike that.
13             Q        How about knowledge of the
14      information contained in Defendants'
15      responses?         Did you --
16             A        I am not sure what you mean by
17      contained.
18             Q        You got it.           I initially asked
19      you -- and again I'm just trying to know
20      when you reviewed documents or when you
21      were aware of information contained in
22      those documents.            That's what I'm asking
23      you.        So you already testified as to when
24      you reviewed Defendants' interrogatory
25      responses themselves.

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1                              M. GEYER
2              A        Yes.
3              Q        And you said to your knowledge
4       you didn't review them before a week ago.
5              A        Yes.
6              Q        So how about -- so contrary to
7       you reviewing the actual documents, you're
8       aware that Defendants made interrogatory
9       responses, right?
10             A        Yes.
11             Q        And so you're aware of the
12      responses in sum and substance that
13      Defendants made to Plaintiff's
14      interrogatories, correct?
15             A        Yes.
16             Q        That information, the
17      information contained therein, in
18      Defendants' interrogatory responses, when
19      did you first become aware of that
20      information?
21             A        I believe it's one and the same.
22      Like, a week ago.
23             Q        A week ago?
24             A        Yes.
25             Q        But not before a week ago?

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1                             M. GEYER
2              A        I don't believe so.
3              Q        How about the Complaint? When
4       did you become aware -- when did you
5       review the Complaint?
6              A        I mean, prior to the first time
7       I was here, and I believe that was
8       February or so, so maybe December-ish,
9       something like that.
10             Q        Of what year?
11             A        It would have been, I guess,
12      '17.
13             Q        So you didn't review the
14      Complaint before 2017?
15             A        No, I don't believe so.
16             Q        When did you become aware of the
17      allegations, the sum and substance
18      contained in the Complaint, if you are
19      aware?
20             A        I would be guessing, to be
21      honest with you, so as just an educated
22      guess I would say maybe six months prior.
23      Maybe the end of the -- the end of the
24      summer, maybe, something like that, '17.
25             Q        But not prior to 2017 did you

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1                             M. GEYER
2              Q        And why did you review the
3       handbook?
4              A        Just to try to familiarize
5       myself again with some things that are
6       there that maybe is not at the top of mind
7       for me right now.             Stuff like that.
8              Q        Understood, and again I'm just
9       going through this just to figure out the
10      reasons for reviewing documents.                      That's
11      all.
12             A        Okay.
13             Q        When you reviewed the
14      interrogatories a week ago or within the
15      last week, the Defendants' interrogatory
16      responses, I should say, is that when you
17      learned what Defendants' interrogatory
18      responses were in sum and substance?
19             A        I think -- I believe that's
20      accurate.        Yes.
21             Q        I'm doing this to refresh my
22      recollection now.             That's why I am
23      pausing, just so you know.                      Do you recall
24      testifying in your last deposition day
25      that you didn't have any information

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1                             M. GEYER
2       related to Plaintiff Ciera Washington
3       specifically?
4              A        Correct.
5              Q        So that statement when you made
6       that statement was accurate?
7              A        It is contract.
8              Q        And it's still accurate?
9              A        It's still accurate.
10             Q        So you have no information,
11      personal knowledge, what have you, with
12      respect to Plaintiff specifically; is that
13      correct --
14                      MS. MORRISON:               Strike that.
15             Q        Let me say that differently.
16      You don't know specifically about
17      Plaintiff's specific claims and what
18      happened, correct?
19             A        I was not involved in her
20      situation directly.               The only way that I
21      knew things was just in gathering
22      information for the lawyers and regards to
23      -- to have access to this file or this
24      particular situation or what do you know,
25      so in that regard I know some things

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1                              M. GEYER
2       because I've read things, but again I was
3       not involved with being part of her --
4       part of the specific information in Duane
5       Reade, so I know of it and became -- I
6       will use the term educated just reading
7       documents and having conversations.
8       That's all.
9              Q        So you provided documents to
10      defense counsel in connection with
11      responses to Defendants' interrogatories,
12      right?
13             A        Yes.
14             Q        Do you recall testifying -- I
15      don't want to put words in your mouth so
16      correct me if what I'm saying is wrong or
17      inaccurate in any way, okay?
18             A        Yes.
19             Q        Do you remember testifying in
20      your first deposition day that the only
21      information you know about with respect to
22      Plaintiff --
23                      MS. MORRISON:               Strike that.
24             Q        You know only general
25      information related to the policies that

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1                             M. GEYER
2       you were testifying to as a 30(b)(6)
3       witness?
4              A       Yes.
5                      MS. WELCH:             Objection to the
6              question.
7              Q       And do you recall testifying
8       that in sum and substance you didn't know
9       any specific information related to
10      Plaintiff?
11             A       I recall that.
12             Q       And was that a correct
13      statement?
14             A       That was.
15             Q       So with respect to -- for
16      instance, with respect to Defendants'
17      policies at the time in 2015 or around
18      2016 --
19                     MS. MORRISON:                Strike that.
20             Q       So with respect to Defendants'
21      policies with respect to employees
22      complaining of discrimination, for
23      example, you have no knowledge regarding
24      Plaintiff's specific complaints or lack
25      thereof?

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1                              M. GEYER
2                       MS. WELCH:            Objection.
3              Q        Is that right?
4                       MS. WELCH:            Objection.
5                       Go ahead.
6              A        I do not have any knowledge
7       about that specifically.
8              Q        So that's a correct --
9              A        That is a correct statement.                   It
10      was then.        It is now.
11             Q        And it is now?
12             A        Yes.
13             Q        Do you recall reviewing --
14                      MS. MORRISON:               Strike that.
15             Q        When I say do you have any
16      knowledge, let's just define it otherwise
17      it's going to be long questions from now
18      on.        When I say knowledge or when you say
19      knowledge, can we agree that knowledge is
20      broad?        In other words, you don't have to
21      personally have seen Plaintiff do
22      something or personally witnessed
23      something being done, but your knowledge
24      would include reviewing documents and
25      speaking to people related to that topic.

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1                             M. GEYER
2       Is that fair to say?
3              A       I can agree to that.
4              Q       So let me ask you the question
5       again: When you said you had no knowledge
6       -- when you testified in your first
7       deposition before today whether or not
8       Plaintiff complained of discrimination,
9       was that a -- do you recall making that
10      discrimination?
11             A       I could.
12             Q       And was that an accurate
13      statement?
14             A       I believed that to be accurate.
15             Q       So you have no knowledge with
16      respect to whether Plaintiff complained of
17      discrimination or didn't complain of
18      discrimination, either way?
19             A       Not either way, correct.
20             Q       And either way you have no
21      knowledge with respect to whether or not
22      Plaintiff complained of being retaliated
23      against at work, correct?
24             A       I might have read that that
25      happened somewhere, but that would be,

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1                             M. GEYER
2              Q       How about harassed?
3              A       I don't recall that
4       specifically.
5              Q       So you don't know if -- you've
6       never reviewed or been privy to or any
7       information related to whether or not
8       Plaintiff complained that she was being
9       harassed at work?
10             A       No, I don't.
11             Q       When I say retaliation or
12      harassment -- let me take them one at a
13      time.       When I say harassment what do you
14      understand that term to mean?                       I think you
15      did this already before in your statement,
16      but --
17             A       I mean, there's many forms of
18      harassment, both physical and nonphysical.
19      It could be harassed for sexual
20      orientation, you know, or gender or
21      whatnot.
22             Q       Understood, so when I say
23      harassment or when I said harassment today
24      or during this deposition is it fair to
25      say that your understanding of harassment

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1                             M. GEYER
2       when I used that term was that someone was
3       doing something to someone else or
4       harassing them because of their race or
5       their gender or sexual orientation or what
6       have you?
7              A       Yes.
8              Q       And how about discrimination?
9       When I said discrimination today and you
10      responded, did you -- was your
11      understanding that discrimination meant
12      that someone was treating someone
13      negatively in some way because of their
14      race or their gender or disability or what
15      have you?
16             A       Yes.
17             Q       And how about retaliation? When
18      we were discussing retaliation -- when we
19      were discussing retaliation, do you
20      understand retaliation to mean that
21      someone was treating someone negatively
22      because they were retaliating against the
23      complaint of discrimination?
24             A       Yes.
25             Q       So when you responded that you

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1                             M. GEYER
2       might have reviewed something that
3       indicated that Plaintiff complained of
4       retaliation that was your understanding of
5       retaliation when you made that response
6       earlier?
7              A       Yes.
8              Q       We talked about harassment,
9       discrimination, retaliation, and we talked
10      about your understanding of that, so let's
11      keep that understanding if either one of
12      us mentions those terms at any point
13      during this deposition just to make things
14      clear.
15             A       I understand.
16             Q       How about -- do you have any
17      knowledge of whether Plaintiff --
18                     MS. MORRISON:                Strike that.
19             Q       Do you recall testifying at your
20      first deposition in sum and substance that
21      you have no knowledge, again broadly
22      defined, regarding who may have scheduled
23      Plaintiff for work shifts or regarding who
24      might have been involved in any way with
25      scheduling Plaintiff's work shifts?

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1                             M. GEYER
2       -- or would a manager write a schedule?
3              Q       Good distinction.                    Thank you.
4       I'm saying specifics.                 I understand that
5       you already testified that you might know
6       generally policies with respect to work
7       scheduling, right?
8              A       Correct.
9              Q       But I remember in sum and
10      substance that you -- again correct me if
11      my memory is incorrect or if I am wrong,
12      okay?
13             A       Yes.
14             Q       I remember you testifying that
15      scheduling work shifts with respect to
16      scheduling Plaintiff's work shifts you
17      have absolutely no knowledge, again
18      broadly defined with respect to knowledge,
19      who may have been involved in scheduling
20      the Plaintiff's work shifts; is that
21      correct?
22             A       That's correct.
23             Q       And you've never had such
24      knowledge?
25             A       I don't have any knowledge of

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1                             M. GEYER
2       that.
3              Q       And you've never had any
4       knowledge?
5              A       Never had any knowledge of that.
6              Q       Because you again testified
7       during your deposition that you had no
8       knowledge -- again broadly defined with
9       knowledge -- with respect to Plaintiff
10      specifically?
11                     MS. WELCH:             Objection.       Asked
12             and answered.
13             A       No, correct.
14             Q       And at no time did you have such
15      knowledge with respect to Plaintiff
16      specifically, correct?
17                     MS. WELCH:             Objection.       Asked
18             and answered.
19             A       Correct.
20             Q       This might be another quick
21      deposition for you, just so you know.
22                     Do you have any knowledge of
23      whether the --
24                     MS. MORRISON:                Strike that.
25             Q       Have you ever had any knowledge

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1                             M. GEYER
2              Q       Okay, no need to allude.                  What
3       are you referring to in terms of your
4       deposition statement?
5              A       I mean --
6              Q       I'm not looking at your -- just
7       so you know, I'm not looking at your
8       deposition statement.
9              A       I mean, well, specifically, I
10      know who her former store managers are.
11             Q       Okay, do you know -- do you have
12      any knowledge with respect to who
13      specifically supervised her?
14             A       Well, I mean...
15             Q       Other than that generally
16      speaking store managers are supposed to
17      supervise someone?
18             A       Obviously that statement is
19      true, right, that the store managers are
20      going to supervise their employees, but
21      additionally so could her assistant
22      managers as well.             With some regards, you
23      know, you might take some task direction
24      from a shift leader too as well, so
25      specifically I don't know who was giving

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1                             M. GEYER
2       her...
3              Q       Who was supervising her at all?
4              A       Day in and day out, no, but I
5       know who the store managers were in the
6       location in which she worked.
7              Q       Understood, so your knowledge as
8       to who may have been involved in
9       Plaintiff's supervision is based on just
10      generally who would be involved in such
11      things?
12             A       General.         General knowledge.
13             Q       Again as you've testified to on
14      your first day?
15             A       Correct.
16             Q       You have no only general
17      knowledge about policies and practices; is
18      that correct?
19             A       Correct.
20             Q       You don't have any knowledge
21      with respect to Plaintiff specifically?
22             A       Not Plaintiff specifically.
23             Q       And the same is true with
24      respect to --
25                     MS. MORRISON:                Strike that.

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1                             M. GEYER
2              Q       Did anyone ever ask you to
3       review Defendants' interrogatory responses
4       and verify whether or not those responses
5       were accurate?
6              A       Yes.
7              Q       Was it one of your attorneys?
8              A       Yes.
9              Q       Do you know when they asked you
10      to do that? It doesn't have to be an exact
11      date.       A month and a year would be great.
12             A       A week or so ago.
13             Q       A week ago or so?
14             A       Yes.
15             Q       Not before a week or so ago?
16             A       Not that I recall.
17             Q       We are in 2018.
18             A       Correct.
19             Q       We're in the year 2018.                 Did
20      anyone ask you to review Defendants'
21      interrogatory responses to verify or
22      confirm that those responses are accurate
23      in 2017?
24             A       I don't recall that.
25             Q       But you don't think so?

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1                             M. GEYER
2              Q       Is it possible that you signed
3       the document and Aaron Warshaw signed the
4       document within a -- longer than a few
5       days' time lapse?
6                      MS. WELCH:             Objection to the
7              form.
8                      Go ahead.
9              A       I suppose that's possible.
10             Q       More than a week time lapse
11      between the two?            Is that possible?
12             A       It's possible.
13             Q       I am just trying to understand.
14      So to your knowledge, you do not know when
15      Aaron Warshaw signed this document and
16      serving as the notary public, correct?
17             A       I do not know when he signed it.
18                     MS. WELCH:             You do know there's
19             an H in Warshaw?
20                     MS. MORRISON:                Oh, that's my
21             pronunciation.           I'm saying Warsaw
22             instead of Warshaw.                Sorry.
23             Q       But you understand we are
24      talking about defense counsel, right?
25             A       Yes.

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1                             M. GEYER
2       Guerrero, Crystal Beckrum, Miguel Brito,
3       and Germaine Allen."
4                      Brito is spelled B-R-I-T-O.                    Do
5       you see that?
6              A       Yes.
7              Q       Do you have any reason to
8       believe that that statement that
9       Defendants made in response to
10      interrogatory number ten was inaccurate
11      when made?
12             A       No.
13             Q       Do you have any reason to
14      believe that that statement by Defendants
15      was inaccurate at any time?
16             A       No.
17             Q       Now, with respect to Defendants'
18      interrogatory number ten's response, did
19      you --
20                     MS. MORRISON:                Strike that.
21             Q       Did you have any basis upon
22      which to conclude whether or not
23      Defendants' interrogatory response to
24      number ten was accurate?
25             A       I don't know that I understand

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1                             M. GEYER
2       you 100 percent.
3              Q       Not a problem.               You just
4       testified that you had no reason to
5       believe that Defendants' response to
6       interrogatory number ten is inaccurate,
7       correct?
8              A       Correct.
9              Q       So do you have any basis,
10      support, or information at all to support
11      your claim that Defendants' interrogatory
12      response to number ten is accurate or not
13      accurate?
14             A       I do not.
15             Q       Did you have any knowledge --
16      again, knowledge as we stated before,
17      generally and broadly stated, meaning did
18      you ever review any documents or witness
19      personally or see anything or be told
20      anything, what have you, upon which to --
21      for you to reliably conclude whether or
22      not Defendants' interrogatory response to
23      number ten was accurate?
24             A       No.
25             Q       So you have no basis upon which

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1                             M. GEYER
2              explain that you should please just
3              say objection.           Please don't say the
4              source of your objection.                     In other
5              words, don't say asked and answered or
6              whatever else.
7                      MS. WELCH:             Sure.         Sure.
8                      MS. MORRISON:                Gotcha.
9              Q       You can answer.
10             A       Oh, can you read back the
11      question?
12                     MS. WELCH:             Read back the
13             question, please.
14                     [Whereupon, the requested
15             portion of the record was read back by
16             the Court Reporter.]
17             A       That is correct.
18             Q       How about Defendants' response
19      to interrogatory number six that we
20      discussed earlier?              What is your basis, if
21      you have any basis, upon which to whether
22      or not whether or not Defendants' response
23      to interrogatory number six is accurate or
24      not accurate?
25             A       Six or nine?

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1                             M. GEYER
2                      MS. WELCH:             Number six?
3              Q       Interrogatory number six on page
4       nine.
5              A       No, I don't.
6              Q       You have no basis upon which to
7       determine whether or not Defendants'
8       response to interrogatory number six is
9       accurate or inaccurate?
10             A       I do not.
11             Q       Correct?
12             A       Correct.
13             Q       Meaning you have no personal
14      knowledge?        In other words, you never
15      witnessed or reviewed any information or
16      spoke to anyone or otherwise to determine
17      or to know any information related to
18      whether or not someone was involved in
19      responding to the Plaintiff's complaints?
20             A       No, I don't.
21             Q       And how about Defendants'
22      response to interrogatory number five?                         Do
23      you have any knowledge -- and again
24      broadly -- whether you reviewed any
25      documents, spoke to anyone, witnessed

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1                             M. GEYER
2       personally, or anything of the like upon
3       which to make a determination of whether
4       or not Defendants' response to
5       interrogatory number five is accurate or
6       inaccurate?
7                      MS. WELCH:             Objection.
8                      Go ahead.
9              A       No.
10             Q       Meaning you have no basis upon
11      which to conclude --
12             A       No.
13             Q       -- the veracity or lack thereof
14      of Defendants' interrogatory number five's
15      response?
16             A       Correct.
17             Q       And how about interrogatory --
18      actually, I'll go to the page first and
19      then I'll give you the interrogatory
20      number.
21             A       Yes.
22             Q       How about page six?                  It says
23      responses and objections to Plaintiff's
24      first set of interrogatories.                       Do you see
25      that?

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1                             M. GEYER
2              Q       At the time when you reviewed
3       did you understand that where it says
4       response to interrogatory number one that
5       was Defendants' response to interrogatory
6       number one?
7              A       Yes.
8              Q       Please turn the page, page
9       seven.      Go to the top of page seven.                    It
10      says: "Subject to and without waiving
11      these objections the Walgreens and Duane
12      Reade Defendants respond.                     Ciera
13      Washington, Luis Guerrero, Crystal
14      Beckrum, Vivian Ghobrial, Germaine Allen,
15      Troy Hennessy, and Robert Petrarchi."
16                     Petrarchi is spelled
17      P-E-T-R-A-R-C-H-I.              Do you see that?
18             A       Yes.
19             Q       You understand that that is part
20      of Defendants' response to interrogatory
21      number one, correct?
22             A       Yes.
23             Q       And do you have any basis upon
24      which to determine if that response is
25      accurate?

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1                             M. GEYER
2              A       Nope.
3              Q       Did you ever have any basis upon
4       which to determine if that response was
5       accurate?
6              A       No.
7              Q       Turning to interrogatory number
8       two, it says: "Identify each person with
9       dates who was involved in any way,
10      directly, indirectly, authorized,
11      unauthorized, formal, informal, in
12      supervising Plaintiff's work performance
13      directly or indirectly, formally or
14      informally, at any time during Plaintiff's
15      employment with Defendants."
16                     Do you see that?
17             A       I do.
18             Q       And do you see below this it
19      says the response to interrogatory number
20      two?
21             A       Yes.
22             Q       At the time when you reviewed
23      the -- and you reviewed this interrogatory
24      response as well?
25             A       Correct.

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1                             M. GEYER
2       of these, you understand I mean, do you
3       have any knowledge at all reviewing
4       documents, what have you?
5              A       Correct.
6              Q       And when responding that you
7       have no basis at any time during this
8       deposition during this last line of
9       questioning, the last half hour, that's
10      your understanding of the basis; is that
11      correct?
12             A       Correct.
13             Q       So again you don't really have
14      -- at the time that you reviewed
15      Defendants' response to tho interrogatory
16      as well, you had no information upon which
17      to definitively state whether this
18      response was accurate, correct?
19             A       Correct.
20             Q       So let's now turn to the next
21      page, eight.          It says interrogatory number
22      four.
23             A       Yes.
24             Q       That says: "Identify each person
25      with dates who was involved in any way

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1                             M. GEYER
2       directly on indirectly, authorized,
3       unauthorized, formal, informal, in
4       investigating or looking into purported
5       claims that Plaintiff was involved in the
6       robbery that occurred on Defendants' work
7       premises or around December 2015."
8                      Do you see that?
9              A       I do.
10             Q       And below that it says response
11      to interrogatory number four?
12             A       Yes.
13             Q       And again when you reviewed --
14      you reviewed this response as well,
15      correct?
16             A       Yes.
17             Q       And at the time that you
18      reviewed this response to determine if it
19      was accurate your understanding it was
20      Defendants' response to interrogatory
21      number four, correct?
22             A       Yes.
23             Q       And it states: "Subject to and
24      without waiving these objections Walgreens
25      and Duane Reade respond Defendants are not

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1                             M. GEYER
2       aware of any person who was involved in
3       any way in investigating or looking into
4       the purported claim that Plaintiff was
5       involved in robbery that occurred on
6       Defendants' work premises on or around
7       December 2015."
8                      Do you see that?
9              A       Yes.
10             Q       At the time when you reviewed
11      Defendants' response to interrogatory
12      number four, did you have any information
13      whatsoever including reviewing documents,
14      speaking to people or witnessing anything
15      yourself, any information, what have you,
16      to determine if Defendants' response here
17      is accurate?
18             A       No.
19             Q       Have you ever had any
20      information upon which to determine if
21      Defendants' response to interrogatory
22      number four was accurate?
23             A       No.
24             Q       And the same -- I apologize if
25      I'm asking a duplicative question, but the

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1                             M. GEYER
2       same is true with respect to
3       Defendants' --
4                      MS. MORRISON:                Strike that.
5              Q       Interrogatory number three, page
6       seven states: "Identify each person with
7       dates who was involved in any way
8       directly, indirectly, authorized,
9       unauthorized, formal, informal, in
10      investigating or looking into the assault
11      of Plaintiff and related robbery that
12      occurred on Defendants' work premises on
13      or around December 2015."
14                     Do you see that?
15             A       I do.
16             Q       And do you see below that it
17      says response to interrogatory number
18      three?
19             A       I do.
20             Q       And at the time when you
21      reviewed this response to determine if it
22      was accurate, you understood that this was
23      Defendants' response to interrogatory
24      number three, correct?
25             A       Correct.

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1                             M. GEYER
2              Q       It says: "Subject to and without
3       waiving its objections, Walgreens and
4       Duane Reade Defendants respond Robert
5       Petrarchi."
6                      Do you see that?
7              A       Yes.
8              Q       At the time that you reviewed
9       Defendants' response to interrogatory
10      number three, did you have any information
11      at any time to be able to determine if
12      Defendants' response was accurate?
13             A       No.
14             Q       Have you ever had any
15      information to determine if Defendants'
16      response to interrogatory number three is
17      accurate?
18             A       No.
19             Q       Turn to the next page.
20      Interrogatory number four states: "In
21      response Defendants are not aware of any
22      person who was involved in any way in
23      investigating or looking into the
24      purported claims that Plaintiff was
25      involved in the robbery that occurred on

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1                             M. GEYER
2       ever had any --
3                      MS. MORRISON:                Strike that.
4              Q       At the time when you reviewed
5       Defendants' response to interrogatory
6       number five to determine if it was
7       accurate, did you have any information at
8       all upon which to make that determination?
9              A       No.
10             Q       Have you ever had any
11      information at all either witnessing or
12      reviewing documents or speaking to anyone,
13      any information at all upon which to
14      determine if Defendants' response to
15      interrogatory number five was accurate?
16             A       No.
17             Q       And how about the same response
18      with respect to Defendants' interrogatory
19      number six?          Have you ever had any
20      information upon which to determine if
21      Defendants' response to interrogatory
22      number six was accurate?
23             A       No.
24             Q       Including at the time when you
25      reviewed Defendants' response to

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1                             M. GEYER
2       interrogatory number six to determine if
3       it was accurate?
4              A       No.
5              Q       So it includes that.                 At the
6       time when you reviewed Defendants'
7       responses to interrogatory number six, you
8       had no information whatsoever upon which
9       to determine if Defendants' response to
10      interrogatory number six was accurate,
11      correct?
12             A       No, correct.
13             Q       Okay, Mr. Geyer, let's now turn
14      to the last page of Defendants'
15      interrogatory responses.                    That is page 12.
16      Do you see it says interrogatory number
17      13?
18             A       Yes.
19             Q       Interrogatory number 13 states:
20      "State whether the answers to these
21      interrogates are based solely upon the
22      personal knowledge of the individual
23      person citing the interrogatories, and is
24      the answer is other than an unqualified
25      yes, please identify," and it lists A, B,

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1                             M. GEYER
2       accurate, did you review that statement,
3       "state whether the answers to these
4       interrogatories are based solely upon the
5       personally knowledge of the individuals
6       signing the interrogatories"?
7              A       Yes.
8              Q       At the time when you reviewed
9       that interrogatory, was it your
10      understanding that you were the person
11      that was signing Defendants'
12      interrogatories?
13             A       Yes.
14             Q       And was it your understanding at
15      that time that you were the person who was
16      signing all of Defendants' interrogatory
17      responses?
18             A       Yes.
19             Q       At the time when you reviewed
20      each and every one of Defendants'
21      interrogatory responses, you already
22      testified that you didn't have any
23      knowledge or information upon which to
24      determine if each and every one of
25      Defendants' interrogatory responses were

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1                             M. GEYER
2       correct, right?
3              A       Yes.
4              Q       At the time when you reviewed
5       Defendants' interrogatory responses to
6       determine if they were accurate did you
7       have any information upon which to respond
8       to the question "please identify each
9       person on whose personal knowledge the
10      answer to any interrogatory or any part of
11      the interrogatory is based in whole or in
12      part"?
13             A       No.
14             Q       And you understand what that
15      means?
16             A       Um-hmm, yes.
17             Q       So at the time that you reviewed
18      interrogatory number 13 to determine if
19      it's accurate -- if Defendants can make an
20      accurate response, you did not have any
21      personal knowledge with respect to
22      Defendants' interrogatory responses but
23      you also did not know if anyone else did,
24      correct?
25             A       That is correct.

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